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  12
  13                          UNITED STATES DISTRICT COURT
  14             CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
  15
  16 MEGAN SCHMITT, DEANA                       Case No. 8:17-cv-01397-JVS-JDE
     REILLY, CAROL ORLOWSKY, and
  17 STEPHANIE MILLER BRUN,                     DEFENDANT YOUNIQUE, LLC'S
     individually and on behalf of              ANSWER TO SECOND AMENDED
  18 themselves and all others similarly        CLASS ACTION COMPLAINT
     situated,
  19                                            The Hon. James V. Selna
                  Plaintiffs,                   Santa Ana, Courtroom 10C
  20
            v.                                  SACC filed:      January 4, 2018
  21                                            Trial Date:      February 19, 2019
     YOUNIQUE, LLC
  22
                  Defendant.
  23
  24
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       SMRH:485153973.4                                DEFENDANT YOUNIQUE, LLC’S ANSWER
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   1           Defendant Younique, LLC (“Younique”), by and through its attorneys, states
   2 as follows in answer to Plaintiffs’ Second Amended Class Action Complaint
   3 (“SAC”):
   4           1.         Answering paragraph 1 of Plaintiffs’ SAC, Younique denies the
   5 allegations.
   6           2.         Answering paragraph 2 of Plaintiffs’ SAC, Younique admits that, from
   7 approximately late 2012 to mid-2015, the product packaging for Younique
   8 Moodstruck 3D Fiber Lashes (the “Mascara”) included the language “Natural
   9 Fibers” and “100% Natural Green Tea Fibers.” Except as so admitted, Younique
  10 denies the allegations.
  11           3.         Answering paragraph 3 of Plaintiffs’ SAC, Younique admits that the
  12 Mascara is designed to enhance the appearance of eyelashes. Younique admits that
  13 the Mascara consisted of two components, a tube of transplanting gel and a tube of
  14 fibers. Except as so admitted, Younique denies the allegations.
  15           4.         Answering paragraph 4 of Plaintiffs’ SAC, Younique denies the
  16 allegations.
  17           5.         Answering paragraph 5 of Plaintiffs’ SAC, Younique lacks knowledge
  18 or information sufficient to form a belief about the truth of the allegations and,
  19 therefore, denies the allegations.
  20           6.         Answering paragraph 6 of Plaintiffs’ SAC, Younique admits that
  21 Plaintiffs purport to bring this action on behalf of certain purchasers of the Mascara.
  22 Except as so admitted, Younique denies the allegations.
  23           7.         Answering paragraph 7 of Plaintiffs’ SAC, Younique lacks knowledge
  24 or information sufficient to form a belief about the truth of the allegations and,
  25 therefore, denies the allegations.
  26           8.         Answering paragraph 8 of Plaintiffs’ SAC, Younique admits that the
  27 Mascara consisted of two components, a tube of transplanting gel and a tube of
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   1 fibers. Younique admits that from approximately late 2012 to mid-2015, the
   2 Mascara’s packaging included the language “Natural Fibers” and “100% Natural
   3 Green Tea Fibers.” Except as so admitted, Younique denies the allegations.
   4           9.         Answering paragraph 9 of Plaintiffs’ SAC, Younique denies the
   5 allegations.
   6           10.        Answering paragraph 10 of Plaintiffs’ SAC, Younique lacks knowledge
   7 or information sufficient to form a belief about the truth of the allegations and,
   8 therefore, denies the allegations.
   9           11.        Answering paragraph 11 of Plaintiffs’ SAC, Younique denies the
  10 allegations on the ground that they call for a legal conclusion.
  11           12.        Answering paragraph 12 of Plaintiffs’ SAC, Younique lacks knowledge
  12 or information sufficient to form a belief about the truth of the allegations and,
  13 therefore, denies the allegations.
  14           13.        Answering paragraph 13 of Plaintiffs’ SAC, Younique lacks knowledge
  15 or information sufficient to form a belief about the truth of the allegations and,
  16 therefore, denies the allegations.
  17           14.        Answering paragraph 14 of Plaintiffs’ SAC, Younique denies the
  18 allegations on the ground that they call for a legal conclusion.
  19           15.        Answering paragraph 15 of Plaintiffs’ SAC, Younique denies the
  20 allegations on the ground that they call for a legal conclusion.
  21           16.        Answering paragraph 16 of Plaintiffs’ SAC, Younique lacks knowledge
  22 or information sufficient to form a belief about the truth of the allegations and,
  23 therefore, denies the allegations.
  24           17.        Answering paragraph 17 of Plaintiffs’ SAC, Younique admits that any
  25 “Draft Guidance Decision Tree for Classification of Materials as Synthetic or
  26 Nonsynthetic (Natural),” issued by the United States Department of Agriculture in
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   1 2013, would speak for itself. Except as so admitted, Younique denies the
   2 allegations.
   3           18.        Answering paragraph 18 of Plaintiffs’ SAC, Younique admits that 7
   4 U.S.C. § 6502 (21) speaks for itself. Except as so admitted, Younique denies the
   5 allegations.
   6           19.        Answering paragraph 19 of Plaintiffs’ SAC, Younique denies the
   7 allegations.
   8           20.        Answering paragraph 20 of Plaintiffs’ SAC, Younique lacks knowledge
   9 or information sufficient to form a belief about the truth of the allegations and,
  10 therefore, denies the allegations.
  11           21.        Answering paragraph 21 of Plaintiffs’ SAC, Younique lacks knowledge
  12 or information sufficient to form a belief about the truth of the allegations and,
  13 therefore, denies the allegations.
  14           22.        Answering paragraph 22 of Plaintiffs’ SAC, Younique denies the
  15 allegations.
  16           23.        Answering paragraph 23 of Plaintiffs’ SAC, Younique denies the
  17 allegations.
  18           24.        Answering paragraph 24 of Plaintiffs’ SAC, Younique denies the
  19 allegations.
  20           25.        Answering paragraph 25 of Plaintiffs’ SAC, Younique denies the
  21 allegations.
  22           26.        Answering paragraph 26 of Plaintiffs’ SAC, Younique denies the
  23 allegations.
  24           27.        Answering paragraph 27 of Plaintiffs’ SAC, Younique denies the
  25 allegations.
  26           28.        Answering paragraph 28 of Plaintiffs’ SAC, Younique denies the
  27 allegations.
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   1           29.        Answering paragraph 29 of Plaintiffs’ SAC, Younique admits that
   2 jurisdiction in this Court is proper, that Younique’s principal place of business is in
   3 Lehi, Utah, and that Plaintiffs seek more than $5,000,000 on behalf of the putative
   4 class. Except as so admitted, Younique denies the allegations.
   5           30.        Answering paragraph 30 of Plaintiffs’ SAC, Younique admits that
   6 jurisdiction in this Court is proper and that Younique conducts business and sells
   7 products within the State of California. Except as so admitted, Younique lacks
   8 knowledge or information sufficient to form a belief about the truth of the
   9 allegations and, therefore, denies the allegations.
  10           31.        Answering paragraph 31 of Plaintiffs’ SAC, Younique admits that
  11 venue in this district is proper. Except as so admitted, Younique denies the
  12 allegations.
  13           32.        Answering paragraph 32 of Plaintiffs’ SAC, Younique admits that its
  14 records show that plaintiff Schmitt purchased one order of the Mascara for $29
  15 (before tax and shipping) and it was delivered to California. Except as so admitted,
  16 Younique lacks knowledge or information sufficient to form a belief about the truth
  17 of the allegations and, therefore, denies the allegations.
  18           33.        Answering paragraph 33 of Plaintiffs’ SAC, Younique lacks knowledge
  19 or information sufficient to form a belief about the truth of the allegations and,
  20 therefore, denies the allegations.
  21           34.        Answering paragraph 34 of Plaintiffs’ SAC, Younique lacks knowledge
  22 or information sufficient to form a belief about the truth of the allegations and,
  23 therefore, denies the allegations.
  24           35.        Answering paragraph 35 of Plaintiffs’ SAC, Younique denies the
  25 allegations.
  26           36.        Answering paragraph 36 of Plaintiffs’ SAC, Younique admits that its
  27 records show that plaintiff Reilly purchased one order of the Mascara and it was
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   1 delivered to Florida. Except as so admitted, Younique lacks knowledge or
   2 information sufficient to form a belief about the truth of the allegations and,
   3 therefore, denies the allegations.
   4           37.        Answering paragraph 37 of Plaintiffs’ SAC, Younique lacks knowledge
   5 or information sufficient to form a belief about the truth of the allegations and,
   6 therefore, denies the allegations.
   7           38.        Answering paragraph 38 of Plaintiffs’ SAC, Younique lacks knowledge
   8 or information sufficient to form a belief about the truth of the allegations and,
   9 therefore, denies the allegations.
  10           39.        Answering paragraph 39 of Plaintiffs’ SAC, Younique denies the
  11 allegations.
  12           40.        Answering paragraph 40 of Plaintiffs’ SAC, Younique admits that its
  13 records show that the Mascara was delivered to plaintiff Brun at an Ohio address.
  14 Except as so admitted, Younique lacks knowledge or information sufficient to form
  15 a belief about the truth of the allegations and, therefore, denies the allegations.
  16           41.        Answering paragraph 41 of Plaintiffs’ SAC, Younique lacks knowledge
  17 or information sufficient to form a belief about the truth of the allegations and,
  18 therefore, denies the allegations.
  19           42.        Answering paragraph 42 of Plaintiffs’ SAC, Younique lacks knowledge
  20 or information sufficient to form a belief about the truth of the allegations and,
  21 therefore, denies the allegations.
  22           43.        Answering paragraph 43 of Plaintiffs’ SAC, Younique denies the
  23 allegations.
  24           44.        Answering paragraph 44 of Plaintiffs’ SAC, Younique lacks knowledge
  25 or information sufficient to form a belief about the truth of the allegations and,
  26 therefore, denies the allegations.
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   1           45.        Answering paragraph 45 of Plaintiffs’ SAC, Younique lacks knowledge
   2 or information sufficient to form a belief about the truth of the allegations and,
   3 therefore, denies the allegations.
   4           46.        Answering paragraph 46 of Plaintiffs’ SAC, Younique lacks knowledge
   5 or information sufficient to form a belief about the truth of the allegations and,
   6 therefore, denies the allegations.
   7           47.        Answering paragraph 47 of Plaintiffs’ SAC, Younique denies the
   8 allegations.
   9           48.        Answering paragraph 48 of Plaintiffs’ SAC, Younique admits that it is
  10 a Utah limited liability company with its principal place of business in Lehi, Utah.
  11 Younique admits that in 2017 Coty Inc. acquired a 60% stake in Younique for
  12 approximately $600 million. Younique admits that it currently operates as a
  13 separate business within Coty’s Consumer Beauty division. Except as so admitted,
  14 Younique denies the allegations.
  15           49.        Answering paragraph 49 of Plaintiffs’ SAC, Younique admits that
  16 Plaintiffs purport to bring a putative class action lawsuit. Except as so admitted,
  17 Younique denies the allegations.
  18           50.        Answering paragraph 50 of Plaintiffs’ SAC, Younique admits that
  19 Plaintiffs purport to bring this action on behalf of the putative class described in the
  20 paragraph. Except as so admitted, Younique denies the allegations.
  21           51.        Answering paragraph 51 of Plaintiffs’ SAC, Younique admits that
  22 Plaintiffs purport to bring this action on behalf of the putative subclasses described
  23 in the paragraph. Except as so admitted, Younique denies the allegations.
  24           52.        Answering paragraph 52 of Plaintiffs’ SAC, Younique denies the
  25 allegations.
  26           53.        Answering paragraph 53 of Plaintiffs’ SAC, Younique denies the
  27 allegations.
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   1           54.        Answering paragraph 54 of Plaintiffs’ SAC, Younique denies the
   2 allegations.
   3           55.        Answering paragraph 55 of Plaintiffs’ SAC, Younique denies the
   4 allegations.
   5           56.        Answering paragraph 56 of Plaintiffs’ SAC, Younique denies the
   6 allegations.
   7           57.        Answering paragraph 57 of Plaintiffs’ SAC, Younique denies the
   8 allegations.
   9           58.        Answering paragraph 58 of Plaintiffs’ SAC, Younique denies the
  10 allegations.
  11           59.        Answering paragraph 59 of Plaintiffs’ SAC, Younique denies the
  12 allegations.
  13           60.        Answering paragraph 60 of Plaintiffs’ SAC, Younique incorporates by
  14 reference its responses to paragraphs 1-59 above.
  15           61.        Answering paragraph 61 of Plaintiffs’ SAC, Younique admits that
  16 plaintiffs Schmitt, Brun and Orlowsky purport to bring this action on behalf of
  17 themselves and members of a putative class. Except as so admitted, Younique
  18 denies the allegations.
  19           62.        Answering paragraph 62 of Plaintiffs’ SAC, Younique admits that the
  20 Magnum-Moss Warranty Act, 15 U.S.C. § 2301, et seq., speaks for itself. Except as
  21 so admitted, Younique denies the allegations.
  22           63.        Answering paragraph 63 of Plaintiffs’ SAC, Younique denies the
  23 allegations on the ground that they call for a legal conclusion.
  24           64.        Answering paragraph 64 of Plaintiffs’ SAC, Younique denies the
  25 allegations on the ground that they call for a legal conclusion.
  26           65.        Answering paragraph 65 of Plaintiffs’ SAC, Younique denies the
  27 allegations on the ground that they call for a legal conclusion.
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   1           66.        Answering paragraph 66 of Plaintiffs’ SAC, Younique denies the
   2 allegations on the ground that they call for a legal conclusion.
   3           67.        Answering paragraph 67 of Plaintiffs’ SAC, Younique admits that from
   4 approximately late 2012 to mid-2015, the Mascara’s packaging included the
   5 language “Natural Fibers” and “100% Natural Green Tea Fibers.” Except as so
   6 admitted, Younique denies the allegations.
   7           68.        Answering paragraph 68 of Plaintiffs’ SAC, Younique denies the
   8 allegations.
   9           69.        Answering paragraph 69 of Plaintiffs’ SAC, Younique denies the
  10 allegations.
  11           70.        Answering paragraph 70 of Plaintiffs’ SAC, Younique denies the
  12 allegations.
  13           71.        Answering paragraph 71 of Plaintiffs’ SAC, Younique incorporates by
  14 reference its responses to paragraphs 1-70 above.
  15           72.        Answering paragraph 72 of Plaintiffs’ SAC, Younique denies the
  16 allegations.
  17           73.        Answering paragraph 73 of Plaintiffs’ SAC, Younique denies the
  18 allegations.
  19           74.        Answering paragraph 74 of Plaintiffs’ SAC, Younique denies the
  20 allegations.
  21           75.        Answering paragraph 75 of Plaintiffs’ SAC, Younique denies the
  22 allegations.
  23           76.        Answering paragraph 76 of Plaintiffs’ SAC, Younique denies the
  24 allegations.
  25           77.        Answering paragraph 77 of Plaintiffs’ SAC, Younique denies the
  26 allegations.
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    1           78.        Answering paragraph 78 of Plaintiffs’ SAC, Younique denies the
    2 allegations.
    3           79.        Answering paragraph 79 of Plaintiffs’ SAC, Younique incorporates by
    4 reference its responses to paragraphs 1-78 above.
    5           80.        Answering paragraph 80 of Plaintiffs’ SAC, Younique admits that the
    6 Consumers Legal Remedies Act (“CLRA”), Cal. Civil Code §§ 1750 et seq., speaks
    7 for itself. Except as so admitted, Younique denies the allegations.
    8           81.        Answering paragraph 81 of Plaintiffs’ SAC, Younique denies the
    9 allegations on the ground that they call for a legal conclusion.
   10           82.        Answering paragraph 82 of Plaintiffs’ SAC, Younique denies the
   11 allegations on the ground that they call for a legal conclusion.
   12           83.        Answering paragraph 83 of Plaintiffs’ SAC, Younique denies the
   13 allegations on the ground that they call for a legal conclusion.
   14           84.        Answering paragraph 84 of Plaintiffs’ SAC, Younique denies the
   15 allegations.
   16           85.        Answering paragraph 85 of Plaintiffs’ SAC, Younique denies the
   17 allegations.
   18           86.        Answering paragraph 86 of Plaintiffs’ SAC, Younique denies the
   19 allegations.
   20           87.        Answering paragraph 87 of Plaintiffs’ SAC, Younique denies the
   21 allegations.
   22           88.        Answering paragraph 88 of Plaintiffs’ SAC, Younique denies the
   23 allegations.
   24           89.        Answering paragraph 89 of Plaintiffs’ SAC, Younique lacks knowledge
   25 or information sufficient to form a belief about the truth of the allegations and,
   26 therefore, denies the allegations.
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    1           90.        Answering paragraph 90 of Plaintiffs’ SAC, Younique denies the
    2 allegations.
    3           91.        Answering paragraph 91 of Plaintiffs’ SAC, Younique admits that a
    4 letter dated August 11, 2017 was sent to Younique on behalf of plaintiff Schmitt.
    5 Except as so admitted, Younique denies the allegations.
    6           92.        Answering paragraph 92 of Plaintiffs’ SAC, Younique admits that a
    7 letter dated August 11, 2017 was sent to Younique on behalf of plaintiff Schmitt.
    8 Except as so admitted, Younique denies the allegations.
    9           93.        Answering paragraph 93 of Plaintiffs’ SAC, the allegations require no
   10 response from Younique. To the extent a response is required, Younique admits
   11 that plaintiff Schmitt purports to bring a cause of action for relief under the CLRA.
   12 Except as so admitted, Younique denies the allegations.
   13           94.        Answering paragraph 94 of Plaintiffs’ SAC, the allegations require no
   14 response from Younique. To the extent a response is required, Younique admits
   15 that plaintiff Schmitt purports to bring a cause of action for relief under the CLRA.
   16 Except as so admitted, Younique denies the allegations.
   17           95.        Answering paragraph 95 of Plaintiffs’ SAC, the allegations require no
   18 response from Younique. To the extent a response is required, Younique admits
   19 that plaintiff Schmitt purports to bring a cause of action for relief under the CLRA.
   20 Except as so admitted, Younique denies the allegations.
   21           96.        Answering paragraph 96 of Plaintiffs’ SAC, Younique incorporates by
   22 reference its responses to paragraphs 1-95 above.
   23           97.        Answering paragraph 97 of Plaintiffs’ SAC, Younique denies the
   24 allegations on the ground that they call for a legal conclusion.
   25           98.        Answering paragraph 98 of Plaintiffs’ SAC, Younique denies the
   26 allegations on the ground that they call for a legal conclusion.
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    1           99.        Answering paragraph 99 of Plaintiffs’ SAC, Younique admits that from
    2 approximately late 2012 to mid-2015, the Mascara’s packaging included the
    3 language “Natural Fibers” and “100% Natural Green Tea Fibers.” Except as so
    4 admitted, Younique denies the allegations.
    5           100. Answering paragraph 100 of Plaintiffs’ SAC, Younique denies the
    6 allegations.
    7           101. Answering paragraph 101 of Plaintiffs’ SAC, Younique denies the
    8 allegations.
    9           102. Answering paragraph 102 of Plaintiffs’ SAC, Younique incorporates by
   10 reference its responses to paragraphs 1-101 above.
   11           103. Answering paragraph 103 of Plaintiffs’ SAC, Younique denies the
   12 allegations on the ground that they call for a legal conclusion.
   13           104. Answering paragraph 104 of Plaintiffs’ SAC, Younique denies the
   14 allegations on the ground that they call for a legal conclusion.
   15           105. Answering paragraph 105 of Plaintiffs’ SAC, Younique denies the
   16 allegations on the ground that they call for a legal conclusion.
   17           106. Answering paragraph 106 of Plaintiffs’ SAC, Younique admits that
   18 California Commercial Code § 2314(2)(f) speaks for itself. Except as so admitted,
   19 Younique denies the allegations.
   20           107. Answering paragraph 107 of Plaintiffs’ SAC, Younique admits that
   21 from approximately late 2012 to mid-2015, the Mascara’s packaging included the
   22 language “Natural Fibers” and “100% Natural Green Tea Fibers.” Except as so
   23 admitted, Younique denies the allegations.
   24           108. Answering paragraph 108 of Plaintiffs’ SAC, Younique denies the
   25 allegations.
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    1           109. Answering paragraph 109 of Plaintiffs’ SAC, Younique admits that a
    2 letter dated August 11, 2017 was sent to Younique on behalf of plaintiff Schmitt.
    3 Except as so admitted, Younique denies the allegations.
    4           110. Answering paragraph 110 of Plaintiffs’ SAC, Younique denies the
    5 allegations.
    6           111. Answering paragraph 111 of Plaintiffs’ SAC, Younique incorporates by
    7 reference its responses to paragraphs 1-110 above.
    8           112. Answering paragraph 112 of Plaintiffs’ SAC, Younique denies the
    9 allegations on the ground that they call for a legal conclusion.
   10           113. Answering paragraph 113 of Plaintiffs’ SAC, Younique denies the
   11 allegations on the ground that they call for a legal conclusion.
   12           114. Answering paragraph 114 of Plaintiffs’ SAC, Younique admits that the
   13 Florida Unfair and Deceptive Trade Practices Act at Fla. Stat. § 501.204(1) speaks
   14 for itself. Except as so admitted, Younique denies the allegations.
   15           115. Answering paragraph 115 of Plaintiffs’ SAC, Younique denies the
   16 allegations.
   17           116. Answering paragraph 116 of Plaintiffs’ SAC, Younique denies the
   18 allegations.
   19           117. Answering paragraph 117 of Plaintiffs’ SAC, the allegations require no
   20 response from Younique. To the extent a response is required, Younique admits
   21 that plaintiff Reilly purports to bring a cause of action for relief under the Florida
   22 Deceptive Trade Practices Act on behalf of herself and the putative subclass
   23 described in the paragraph. Except as so admitted, Younique denies the allegations.
   24           118. Answering paragraph 118 of Plaintiffs’ SAC, Younique incorporates by
   25 reference its responses to paragraphs 1-117 above.
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    1           119. Answering paragraph 119 of Plaintiffs’ SAC, Younique admits that the
    2 Ohio Consumer Sales Practice Act speaks for itself. Except as so admitted,
    3 Younique denies the allegations.
    4           120. Answering paragraph 120 of Plaintiffs’ SAC, Younique denies the
    5 allegations on the ground that they call for a legal conclusion.
    6           121. Answering paragraph 121 of Plaintiffs’ SAC, Younique denies the
    7 allegations on the ground that they call for a legal conclusion.
    8           122. Answering paragraph 122 of Plaintiffs’ SAC, Younique denies the
    9 allegations.
   10           123. Answering paragraph 123 of Plaintiffs’ SAC, Younique denies the
   11 allegations.
   12           124. Answering paragraph 124 of Plaintiffs’ SAC, Younique denies the
   13 allegations on the ground that they call for a legal conclusion.
   14           125. Answering paragraph 125 of Plaintiffs’ SAC, Younique admits that
   15 Ohio Administrative Code section 109:4-3-10 speaks for itself. Except as so
   16 admitted, Younique denies the allegations.
   17           126. Answering paragraph 126 of Plaintiffs’ SAC, Younique denies the
   18 allegations on the ground that they call for a legal conclusion.
   19           127. Answering paragraph 127 of Plaintiffs’ SAC, the allegations require no
   20 response from Younique. To the extent a response is required, Younique admits
   21 that plaintiff Brun purports to bring a cause of action for relief under the Ohio
   22 Consumer Sales Practices Act. Except as so admitted, Younique denies the
   23 allegations.
   24           128. Answering paragraph 128 of Plaintiffs’ SAC, Younique incorporates by
   25 reference its responses to paragraphs 1-127 above.
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    1           129. Answering paragraph 129 of Plaintiffs’ SAC, Younique admits that the
    2 Ohio Deceptive Trade Practices Act speaks for itself. Except as so admitted,
    3 Younique denies the allegations.
    4           130. Answering paragraph 130 of Plaintiffs’ SAC, Younique denies the
    5 allegations on the ground that they call for a legal conclusion.
    6           131. Answering paragraph 131 of Plaintiffs’ SAC, Younique denies the
    7 allegations.
    8           132. Answering paragraph 132 of Plaintiffs’ SAC, Younique denies the
    9 allegations.
   10           133. Answering paragraph 133 of Plaintiffs’ SAC, the allegations require no
   11 response from Younique. To the extent a response is required, Younique admits
   12 that plaintiff Brun purports to bring a cause of action for relief under the Ohio
   13 Deceptive Trade Practices Act on behalf of herself and the putative subclass
   14 described in the paragraph. Except as so admitted, Younique denies the allegations.
   15           134. Answering paragraph 134 of Plaintiffs’ SAC, Younique incorporates by
   16 reference its responses to paragraphs 1-133 above.
   17           135. Answering paragraph 135 of Plaintiffs’ SAC, Younique denies the
   18 allegations on the ground that they call for a legal conclusion.
   19           136. Answering paragraph 136 of Plaintiffs’ SAC, Younique denies the
   20 allegations on the ground that they call for a legal conclusion.
   21           137. Answering paragraph 137 of Plaintiffs’ SAC, Younique admits that
   22 from approximately late 2012 to mid-2015, the Mascara’s packaging included the
   23 language “Natural Fibers” and “100% Natural Green Tea Fibers.” Except as so
   24 admitted, Younique denies the allegations.
   25           138. Answering paragraph 138 of Plaintiffs’ SAC, Younique denies the
   26 allegations.
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    1           139. Answering paragraph 139 of Plaintiffs’ SAC, Younique denies the
    2 allegations.
    3           140. Answering paragraph 140 of Plaintiffs’ SAC, Younique admits that a
    4 letter dated August 11, 2017 was sent to Younique on behalf of plaintiff Schmitt.
    5 Except as so admitted, Younique denies the allegations.
    6           141. Answering paragraph 141 of Plaintiffs’ SAC, Younique denies the
    7 allegations.
    8           142. Answering paragraph 142 of Plaintiffs’ SAC, Younique incorporates by
    9 reference its responses to paragraphs 1-141 above.
   10           143. Answering paragraph 143 of Plaintiffs’ SAC, Younique denies the
   11 allegations on the ground that they call for a legal conclusion.
   12           144. Answering paragraph 144 of Plaintiffs’ SAC, Younique denies the
   13 allegations on the ground that they call for a legal conclusion.
   14           145. Answering paragraph 145 of Plaintiffs’ SAC, Younique denies the
   15 allegations on the ground that they call for a legal conclusion.
   16           146. Answering paragraph 146 of Plaintiffs’ SAC, Younique admits that
   17 from approximately late 2012 to mid-2015, the Mascara’s packaging included the
   18 language “Natural Fibers” and “100% Natural Green Tea Fibers.” Except as so
   19 admitted, Younique denies the allegations.
   20           147. Answering paragraph 147 of Plaintiffs’ SAC, Younique denies the
   21 allegations.
   22           148. Answering paragraph 148 of Plaintiffs’ SAC, Younique denies the
   23 allegations.
   24           149. Answering paragraph 149 of Plaintiffs’ SAC, Younique admits that a
   25 letter dated August 11, 2017 was sent to Younique on behalf of plaintiff Schmitt.
   26 Except as so admitted, Younique denies the allegations.
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    1           150. Answering paragraph 150 of Plaintiffs’ SAC, Younique denies the
    2 allegations.
    3           151. Answering paragraph 151 of Plaintiffs’ SAC, Younique incorporates by
    4 reference its responses to paragraphs 1-150 above.
    5           152. Answering paragraph 152 of Plaintiffs’ SAC, Younique denies the
    6 allegations on the ground that they call for a legal conclusion.
    7           153. Answering paragraph 153 of Plaintiffs’ SAC, Younique denies the
    8 allegations on the ground that they call for a legal conclusion.
    9           154. Answering paragraph 154 of Plaintiffs’ SAC, Younique denies the
   10 allegations on the ground that they call for a legal conclusion.
   11           155. Answering paragraph 155 of Plaintiffs’ SAC, Younique admits that the
   12 Tennessee Consumer Protection Act speaks for itself. Except as so admitted,
   13 Younique denies the allegations.
   14           156. Answering paragraph 156 of Plaintiffs’ SAC, Younique denies the
   15 allegations.
   16           157. Answering paragraph 157 of Plaintiffs’ SAC, Younique denies the
   17 allegations.
   18           158. Answering paragraph 158 of Plaintiffs’ SAC, the allegations require no
   19 response from Younique. To the extent a response is required, Younique admits
   20 that plaintiff Orlowsky purports to bring a cause of action for relief under the
   21 Tennessee Consumer Protection Act on behalf of herself and the putative subclass
   22 described in the paragraph. Except as so admitted, Younique denies the allegations.
   23           159. Answering paragraph 159 of Plaintiffs’ SAC, Younique incorporates by
   24 reference its responses to paragraphs 1-158 above.
   25           160. Answering paragraph 160 of Plaintiffs’ SAC, Younique denies the
   26 allegations on the ground that they call for a legal conclusion.
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    1           161. Answering paragraph 161 of Plaintiffs’ SAC, Younique denies the
    2 allegations on the ground that they call for a legal conclusion.
    3           162. Answering paragraph 162 of Plaintiffs’ SAC, Younique admits that
    4 from approximately late 2012 to mid-2015, the Mascara’s packaging included the
    5 language “Natural Fibers” and “100% Natural Green Tea Fibers.” Except as so
    6 admitted, Younique denies the allegations.
    7           163. Answering paragraph 163 of Plaintiffs’ SAC, Younique denies the
    8 allegations.
    9           164. Answering paragraph 164 of Plaintiffs’ SAC, Younique denies the
   10 allegations.
   11           165. Answering paragraph 165 of Plaintiffs’ SAC, Younique admits that a
   12 letter dated August 11, 2017 was sent to Younique on behalf of plaintiff Schmitt.
   13 Except as so admitted, Younique denies the allegations.
   14           166. Answering paragraph 166 of Plaintiffs’ SAC, Younique denies the
   15 allegations.
   16           167. Answering paragraph 167 of Plaintiffs’ SAC, Younique incorporates by
   17 reference its responses to paragraphs 1-166 above.
   18           168. Answering paragraph 168 of Plaintiffs’ SAC, Younique denies the
   19 allegations on the ground that they call for a legal conclusion.
   20           169. Answering paragraph 169 of Plaintiffs’ SAC, Younique denies the
   21 allegations on the ground that they call for a legal conclusion.
   22           170. Answering paragraph 170 of Plaintiffs’ SAC, Younique denies the
   23 allegations on the ground that they call for a legal conclusion.
   24           171. Answering paragraph 171 of Plaintiffs’ SAC, Younique admits that
   25 from approximately late 2012 to mid-2015, the Mascara’s packaging included the
   26 language “Natural Fibers” and “100% Natural Green Tea Fibers.” Except as so
   27 admitted, Younique denies the allegations.
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    1           172. Answering paragraph 172 of Plaintiffs’ SAC, Younique denies the
    2 allegations.
    3           173. Answering paragraph 173 of Plaintiffs’ SAC, Younique denies the
    4 allegations.
    5           174. Answering paragraph 174 of Plaintiffs’ SAC, Younique admits that a
    6 letter dated August 11, 2017 was sent to Younique on behalf of plaintiff Schmitt.
    7 Except as so admitted, Younique denies the allegations.
    8           175. Answering paragraph 175 of Plaintiffs’ SAC, Younique denies the
    9 allegations.
   10
   11                                     AFFIRMATIVE DEFENSES
   12           BY WAY OF DEFENSES, and without conceding that it has the burden of
   13 proof as to any of these matters, Younique alleges as follows:
   14
   15                               FIRST AFFIRMATIVE DEFENSE
   16                (Failure to State Facts Sufficient to Constitute a Cause of Action)
   17                      1.   The SAC, and each of the purported causes of action asserted
   18 therein, against Younique fails to state facts sufficient to constitute a cause of action
   19 against Younique.
   20                             SECOND AFFIRMATIVE DEFENSE
   21                               (No Reasonable Consumer Deceived)
   22                      2.   The SAC, and each of the purported causes of action asserted
   23 therein, against Younique fails, in whole or in part, because the Mascara as
   24 delivered met the needs and expectations of consumers and no reasonable consumer
   25 would interpret the alleged communications and advertising in the manner Plaintiffs
   26 allege or rely on them to their detriment.
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    1                              THIRD AFFIRMATIVE DEFENSE
    2                                      (Statute of Limitations)
    3                      3.   Plaintiffs’ purported claims are barred, in whole or in part, to the
    4 extent Plaintiffs seek relief for any purported claims, on their own behalf or on
    5 behalf of others, that were not brought before the expiration of the applicable statute
    6 of limitations, including but not limited to California Business and Professions Code
    7 section 17208; California Code of Civil Procedure sections 338(a) and 338(d);
    8 California Civil Code section 1783; California Commercial Code section 2725 (and
    9 other states’ equivalents); Fla. Stat. section 501.207; Ohio Rev. Code sections
   10 1302.98, 1345.10(C) and 2305.09; Tenn. Code sections 47-18-110 and 47-2-725
   11 and/or any other applicable statute(s) of limitations from other states not specifically
   12 identified in the SAC.
   13                             FOURTH AFFIRMATIVE DEFENSE
   14                                         (Lack of Standing)
   15                      4.   The SAC, and each of the purported causes of action asserted
   16 therein, against Younique fails, in whole or in part, because Plaintiffs and the
   17 putative class and subclass members they purport to represent lack standing to
   18 pursue their asserted claims. Among other things, Plaintiffs and the putative class
   19 and subclass members should be barred from pursuing claims based upon
   20 representations that they did not rely upon and therefore were not injured by.
   21                               FIFTH AFFIRMATIVE DEFENSE
   22               (Compliance with Statutes, Regulations and/or Industry Standards)
   23                      5.   To the extent that Younique engaged in any of the activities
   24 alleged in the SAC, those activities were in compliance with, and pursuant to,
   25 statutes, government regulations and/or industry standards in existence at the time of
   26 the activities.
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    1                              SIXTH AFFIRMATIVE DEFENSE
    2                                    (Justification and Privilege)
    3                      6.   The SAC, and each of the purported causes of action asserted
    4 therein, against Younique is barred, in whole or in part, because Younique actions,
    5 if any, respecting the subject matters alleged therein were undertaken in good faith,
    6 with the absence of malicious intent, and constitute lawful, proper and justified
    7 means.
    8                            SEVENTH AFFIRMATIVE DEFENSE
    9                                    (Lack of Proximate Cause)
   10                      7.   The SAC, and each of the purported causes of action asserted
   11 therein, against Younique fails, in whole or in part, because Younique conduct was
   12 not the proximate cause of the harm alleged therein.
   13                             EIGHTH AFFIRMATIVE DEFENSE
   14                                        (Good Faith Belief)
   15                      8.   The SAC, and each of the purported causes of action asserted
   16 therein, against Younique is barred, in whole or in part, because, at all times and
   17 places mentioned, Younique acted without malice and with a good faith belief in the
   18 propriety of its conduct.
   19                              NINTH AFFIRMATIVE DEFENSE
   20                                         (Unclean Hands)
   21                      9.   The SAC, and each of the purported causes of action asserted
   22 therein, against Younique is barred, in whole or in part, by the doctrine of unclean
   23 hands. Younique asserts this affirmative defense on information and belief and
   24 because, due to the sheer size and scope of the putative class and the lack of
   25 specificity in the SAC, it is possible that one or more members of the putative class,
   26 including Plaintiffs, have engaged in misconduct that would make it inequitable for
   27 them to obtain any relief from Younique.
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    1                               TENTH AFFIRMATIVE DEFENSE
    2                                              (Estoppel)
    3                      10.   The SAC, and each of the purported causes of action asserted
    4 therein, against Younique is barred, in whole or in part, by the doctrine of estoppel.
    5                            ELEVENTH AFFIRMATIVE DEFENSE
    6                                              (Waiver)
    7                      11.   The SAC, and each of the purported causes of action asserted
    8 therein, against Younique is barred, in whole or in part, by the doctrine of waiver.
    9 Younique asserts this affirmative defense on information and belief and because,
   10 due to the sheer size and scope of the putative class and the lack of specificity in the
   11 SAC, it is possible that one or more members of the putative class, including
   12 Plaintiffs, have waived their right to obtain relief against Younique.
   13                             TWELFTH AFFIRMATIVE DEFENSE
   14                                              (Laches)
   15                      12.   The SAC, and each of the purported causes of action asserted
   16 therein, against Younique is barred, in whole or in part, by the doctrine of laches.
   17 Younique asserts this affirmative defense on information and belief and because,
   18 due to the sheer size and scope of the putative class and the lack of specificity in the
   19 SAC, it is possible that one or more members of the putative class, including
   20 Plaintiffs, have, by virtue of their delay, waived any right to obtain relief against
   21 Younique.
   22                            THIRTEENTH AFFIRMATIVE DEFENSE
   23                                    (Failure to Mitigate Damages)
   24                      13.   If Plaintiffs and the putative class members have suffered any
   25 damages by reason of any acts, omissions, or courses of conduct on the part of
   26 Younique, all or part of the damages were caused by or attributable to the failure of
   27 Plaintiffs and the class to act reasonably or prudently to mitigate their damages.
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    1 Younique asserts this affirmative defense on information and belief and because,
    2 due to the sheer size and scope of the putative class and the lack of specificity in the
    3 SAC, it is possible that one or more members of the putative class, including
    4 Plaintiffs, have, by virtue of their delay, failed to mitigate any alleged damages.
    5                            FOURTEENTH AFFIRMATIVE DEFENSE
    6                                         (Unjust Enrichment)
    7                      14.   The SAC, and each of the purported causes of action asserted
    8 therein, against Younique is barred, in whole or in part, on the ground that any
    9 award or relief against Younique would result in unjust enrichment to the Plaintiffs
   10 and the class.
   11                            FIFTEENTH AFFIRMATIVE DEFENSE
   12                                               (Offset)
   13                      15.   If any award or relief is entered against Younique, the recovery
   14 must be offset by the value of the products furnished by Younique.
   15                            SIXTEENTH AFFIRMATIVE DEFENSE
   16                                (Class Action Requirements Not Met)
   17                      16.   Plaintiffs cannot properly bring this case as a class action under
   18 Federal Rule of Civil Procedure 23 because Plaintiffs cannot satisfy its
   19 requirements. Individual questions of fact and law predominate over common
   20 questions, Plaintiffs are not adequate class representatives, their claims are not
   21 typical of those belonging to the alleged class members, many putative class
   22 members (including certain named plaintiffs) have an arbitration forum pursuant to
   23 which they can pursue alleged claims, and other class requirements cannot be
   24 satisfied.
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    1                            SEVENTEENTH AFFIRMATIVE DEFENSE
    2                                    (Failure to Comply with CLRA)
    3                      17.    Plaintiff Schmitt failed to comply with the Consumer Legal
    4 Remedy Act, including but not limited to the provisions set forth in Section 1780
    5 and 1782 thereof.
    6                            EIGHTEENTH AFFIRMATIVE DEFENSE
    7                                 (No Entitlement to Punitive Damages)
    8                      18.    Plaintiffs are not entitled to recover punitive damages, in whole
    9 or in part, from Younique under applicable of law.
   10                            NINETEENTH AFFIRMATIVE DEFENSE
   11           (Failure to Take Advantage of Preventative or Corrective Opportunities)
   12                      19.    Plaintiffs unreasonably failed to take advantage of preventative
   13 or corrective opportunities provided by Younique to avoid the alleged harm, if any,
   14 including, but not limited to availing themselves of Younique’s refund policy.
   15                             TWENTIETH AFFIRMATIVE DEFENSE
   16                                         (Lack of Knowledge)
   17                      20.    The SAC, and each of the purported causes of action asserted
   18 therein, against Younique fails, in whole or part, because even assuming the truth of
   19 Plaintiffs’ claims, Younique did not know, nor should it have known, of the alleged
   20 facts and conduct asserted therein.
   21                            TWENTY-FIRST AFFIRMATIVE DEFENSE
   22                                         (Lack of Particularity)
   23                      21.    Plaintiffs have failed to allege their purported causes of action
   24 with sufficient particularity to enable Younique to raise all appropriate defenses,
   25 and, therefore, Younique reserves the right to assert additional defenses as the
   26 factual basis for each becomes known. Further, the SAC, an each of the purported
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    1 causes of action therein, against Younique is barred, in whole or part, on the
    2 grounds that the SAC fails to describe the alleged fraud with requisite particularity.
    3                         TWENTY-SECOND AFFIRMATIVE DEFENSE
    4                                   (Entitlement to Attorneys’ Fees)
    5                      22.    The SAC, and each of the purported causes of action asserted
    6 therein, against Younique is frivolous, vexatious and unreasonable, thereby entitling
    7 Younique to an award of its reasonable attorneys’ fees. See, e.g., Fla. Stat. §
    8 501.2105; Cal. Civ. Code 1780.
    9                            TWENTY-THIRD AFFIRMATIVE DEFENSE
   10                                            (No Reliance)
   11                      23.    The SAC, and each of the purported causes of action asserted
   12 therein, against Younique fails, in whole or in part, because Plaintiffs do not allege
   13 any misrepresentations upon which they relied.
   14                        TWENTY-FOURTH AFFIRMATIVE DEFENSE
   15                                           (No Materiality)
   16                      24.    The SAC, and each of the purported causes of action asserted
   17 therein, against Younique fails, in whole or in part, because the alleged
   18 misrepresentations were not material to Plaintiffs and/or putative class members.
   19                            TWENTY-FIFTH AFFIRMATIVE DEFENSE
   20                                 (No Damage Caused By Defendant)
   21           25.        The SAC, and each of the purported causes of action asserted therein,
   22 against Younique fails, in whole or in part, because Plaintiffs and/or the putative
   23 class members have not suffered any damages as a legal result of any alleged
   24 conduct or omissions by Younique.
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    1                            TWENTY-SIXTH AFFIRMATIVE DEFENSE
    2          (Additional Defenses Against Unnamed Class Members and Reservation)
    3                      26.    Younique may have additional defenses against the unnamed
    4 members of the class that Plaintiffs purport to represent. Younique reserves the
    5 right to assert additional defenses against the unnamed members of the class or
    6 subclass that Plaintiffs purport to represent if a class or a subclass is certified against
    7 Younique and as the factual basis for each additional defense becomes known.
    8 Among other things, many putative class members have an arbitration forum
    9 pursuant to which they can pursue alleged claims. Younique specifically reserves
   10 the right to amend this Answer by way of adding additional defenses.
   11
                                         DEMAND FOR JURY TRIAL
   12
   13                      Younique hereby makes its demand for jury trial.
   14
                                            PRAYER FOR RELIEF
   15
   16           WHEREFORE, having answered Plaintiffs’ SAC and having asserted
   17 affirmative defenses, Younique prays for judgment as follows:
   18           1.         For dismissal of all claims and causes of action against Younique
   19 alleged in Plaintiffs’ SAC with prejudice;
   20           2.         For denial of certification of this matter as a class action;
   21           3.         For all costs and disbursements incurred in this litigation to the extent
   22 they are available;
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    1           4.         For legal fees incurred in this litigation to the extent they are available,
    2 including under Fla. Stat. § 501.2105 (and other states’ equivalents); and
    3           5.         For such other and further relief as the Court deems just and proper.
    4
        Dated: January 18, 2018
    5
    6                                       SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

    7
    8                                       By                      /s/ Sascha Henry
    9                                                              SASCHA HENRY
                                                                JONATHAN D. MOSS
   10                                                             ABBY H. MEYER
   11                                                   Attorneys for Defendant Younique, LLC
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